                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

       Plaintiff,                          Case No. 5:19-cv-00475-BO

vs.
                                             ORDER REGARDING DISCOVERY
AT&T MOBILITY LLC,
                                                 AND CASE SCHEDULE
       Defendant.



      For good cause shown and with the consent of the Parties to this action, the

Joint Motion to Enter Agreed Order Regarding Discovery and Case Schedule is hereby

GRANTED.

   1. The Court orders an 80-day, limited extension of the deadline to complete

      discovery in this action, or through and until December 6, 2021 ("limited

      discovery period"), on the terms set out in this Order.

   2. Within thirty (30) days of this order, Plaintiff shall make diligent and

      reasonable efforts to complete the following:

         a. Have his counsel independently review the jwilliams@prtitech.com email

             account for the period January 1, 2018 through December 31, 2019 and

             produce to AT&T all documents responsive to AT&T's discovery

             requests;

         b. Produce complete transaction history logs, security setting logs, and

             account access logs with IP a ddresses for any Slush Pool account or

             Gemini account that Plaintiff maintained or utilized in connection with




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         his cryptocurrency mining operation at any time during January 1, 2018

         to December 31, 2019, or certify to AT&T in writing that he is unable to

         produce such documents;

      c. Produce records of each expense incurred in running the cryptocurrency

         mining operation, including payments to Anexio, or certify to AT&T in

         writing that he is unable to produce such documents;

      d. Produce the documents substantiating the tax return figures identified

         in Request No. 2 of AT&T's Third Requests for Production, or certify to

         AT&T in writing that he is unable to produce such documents; and

      e. Supplement his responses to AT&T's Second Interrogatories Nos. 1-2

         and 4-6 by providing the specific items of information requested therein

         or certifying in writing that he cannot provide the information.

   If additional time for compliance is needed regarding items (a) through (e),

   above, Plaintiff may have up to fifty (50) days after entry of this Order to fully

   comply with these items.

3. Within seven (7) days of this Order, Plaintiff shall disclose to AT&T in writing

   the identity of any cryptocurrency mining pool or mining service account he

   utilized in connection with his cryptocurrency mining operation, including but

   not limited to any Slush Pool account created in February 2019, by listing the

   name of the service, the account and/or user name, and associated email

   address for each such account, and for each account identify the time period he

   maintained the account.




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4. AT&T shall have until the end of th e extended limited discovery period to

   complete the taking of depositions it notices in this case, and Mr. Williams sh all

   cooperate in sch eduling and appearin g for such depositions to occur in t h at

   time period. AT&T may serve additional writt en discovery, but AT&T will meet

   and confer with Mr. Williams before issuing any new written discovery

   requests and any such discovery shall be served so that Mr. Williams' responses

   are due on or before the end of the extended limited discovery period.

5. Within sixty (60) days of entry of this Or der, Mr. Williams shall complete

   depositions he intends to conduct, and AT&T shall cooperate in scheduling and

   appearing for such depositions during that period. Mr. Williams shall not serve

   any new written discovery requests on AT&T during the limited discovery

   period without first conferring with AT&T. If the Parties cannot reach

   agreement regarding new written discovery requests sought by Mr. Williams,

   they sh all promptly request a conference with the Court. Mr. Williams does

   not waive any rights regarding his already-issued discovery requests,

   including those rights arising under the Federal Rules of Civil Procedure and

   the Local Rules of the Eastern District of North Carolina.

6. The dea dlines for dispositive motion briefing under the Scheduling Order [Doc.

   72] are h ereby vacated. At least once every thirty (30) days after entry of this

   Order, the Parties shall jointly request a status conference to report on their

   progress and to discuss any remaining discovery issues and a schedule for the




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   remainder of the case. Prior to the close of the limited discovery period, the

   Parties shall submit a schedule dispositive motions submission and briefing.

7. Except as expressly addressed or modified in this Order, the deadlines and

   requirements of this Court's Scheduling Order [Doc. 72] remain in full force and

  effect.

  IT IS SO ORDERED.




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   Dated: SeptemberO, 2021
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                                          T~E
                                          United States District Judge




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